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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




    PATRICK VOELLMAR.

                          Plaintiff,

           V.                                                Case No. l;17-cv-1353


    I.M.S.,INC.,t'/ ai.

                          Defendants.



                                 MEMORANDUM OPINION


       Plaintiff, Patrick Voellmar, filed this action on November,28,2017, alleging violations

of the Americans with Disabilities Act("ADA")and the Family and Medical Leave Act

("FMLA")against Defendants I.M.S., Inc. and ITO El Paso. Dkt. No. 1. In his Complaint.

Plaintiff alleged I.M.S., Inc. and ITO El Paso acted as joint employers, and therefore claims

against both Defendants were appropriate.

       On March 23,2018, Defendant ITO El Paso moved to dismiss for failure to state a claim,

arguing it was not a joint employer with Defendant I.M.S., Inc., and that it employs fewer than

ten people, preventing it from being a statutory employer under both the ADA and the FMLA.

This Court heard oral argument in the matter on May 11, 2018, and ordered a sixty-day period of

limited discovery on the issue ofjoint employment.

       The parties conducted discovery and this action is presently before the Court on I TO El

Paso's renewed motion to dismiss for failure to state a claim. Dkt. No. 30. For the reasons set out

below. Defendant's motion to dismiss is denied.

                                         I. Background
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